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        A 0 199A (Rev 3/87) Order Senlng Condltlons of Release                          3 1 of                                                                Pages
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                                                                        . DISTRICT
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                      UNITED STATES OF AMERICA
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                                                                      , , .. ..                         Q ~ X ) . ~ ~ T T ICONDITIONS
                                                                                                                            N G
                                       v.                   ~,:::'~,:..:i:
                                                                   ,:

                                                                                                                     RELEASE
                                                            BV-__                       .    .        .   Lc~~t:




                                    Defendant


                    IT IS ORDERED that the release of the defendant is subject to the following conditions:

                      (1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
                          case.

                      (2) The defendant shall immediately advice the court, defense counsel and the U.S. attorney in writing of any
                          change in address and telephone number.

                      (3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
                                                                                                                                                       .
                          imposed as directed. The defendant shall next appear at (if blank, to be notified

                                                                                                                             1-17-86 ' l a W                 9'@
                                         Release on Personal Recognizance or Unsecured Bond
                    IT IS FURTHER ORDERED that the defendant be released provided that:

         (   J ) (4) The defendant promises to appear at all proceedings as required and to surrender for service of any sentence
                         imposed.

         (      )    (5) The defendant executes an unsecured bond binding the defendant to pay the United States the sum of
                                                                                                    dollars ($                          )
                         in the event of a failure to appear as required or to surrender as directed for service of any sentence imposed.




WHITE COPY - C O U R T          YELLOW. D E F E N D A N T        B L U E - U.S. A T T O R N E Y                         PINK - U.S. MARSHAL   G R E E N - PRETRIAL SERVICES
                             Case 1:05-cr-00511-AWI Document 33 Filed 01/17/06 Page 2 of 3
ROBWNS, Carl                            ADDITIONAL CONDITIONS OF RELEASE
(5-0511 AWI

             U p o n finding t h a t release b y o n e o f t h e a b o v e m e t h o d s will n o t b y i t s e l f reasonably assure the appearance o f the defendant
a n d t h e safety o f o t h e r persons a n d t h e c o m m u n i t y , i t is F U R T H E R O R D E R E D t h a t t h e release o f t h e d e f e n d a n t is subject to t h e
conditions m a r k e d below:

(X)        (6)         T h e defendant is placed in t h e custody of:

                       N a m e of person o r o r g a n i z a t i o n Peeev C a m p b e l l

w h o agrees (a) t o supervise t h e defendant in accordance w i t h a l l c o n d i t i o n s o f release,
(b) to use e v e r y e f f o r t t o assure t h e appearanee o f t h e defendant a t a l l scheduled c o u r t proceedings, a n d (e) t o notify t h e c o u r t
i m m e d i a t e l y in t h e event t h e defendant violates a n y conditions o f release o r disappears.


                       SIGNED:
                                               C U S T O D I A N OR P R O X Y

(X)        (7)         The defendant shall:
           (1          (a)      maintain or actively seek employment, and provide proof thereof to the PSO upon request
           (1          (b)      maintatn or commenee an educational program.
           (XI         ((1      3hllIc h) tnc h,l.uuine rc\tr:a~unson hl, perwnal aw1a31ioni.p l s x o i : t h u J c & w
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           ( 1         (d)         avoid all contact ~ v i l hthe followina nanted persons, who are considered either alleacd victims or potential witnesses:
                                   biiehelle Renee Yeaqer. John Edgar Yeaeer. Norma Jean Arrendondo, and Chad Lee Goodwin. unless in the presence o f
                                   w n \ e l ur C)I.ILIMI\C d l l l l ~ .,I ~ mcc h\ rhc {'SO
                                                                        ~ \Sji
           (XI         (21         m u n nn 3 repulx hi.il\ !(I tnc iollmrin-
                                   %rial Services and c o 5 with their rules andresulations.
                                   comply with the following eurfcw:
                                   refrain from possessing a firearm, destructive device, or othcr dangerous weapon
                                   &lidru:n        .AN)' u,e ~falcnhol, dnJ w\ u,c or u n s n f ~Do,sc\>iun
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                                                                                                                                                                on.      the
                                   following sum of moniy or designated * r i p e m :
                                   rectifv anv outstandine traffic matters hv lanuan. 27, 2006. and provide proof to the Pretrial Services Officer.
                                   execute a bail bond with solvent sureties in thc amount of S
                                   return to custody each (week)day as of o'clock after being released each (weck)day as o f o'clock for cmplopent,
                                   schooling, or the following limited purpose(s):
                                   surrender any passpon to the Clerk, United Statcs District Court.
                                   obtain no passport during the pendency of this case.


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                                   which1 ) w i l l or ( ) w i l l not include elcctronic monitorsg or othir location verification sys1em:
                                   ( ) (i) Curfew. You are restricted to your residence evcry day ( ) from                                  to A or
                                               ( ) as directed by the Pretrial Services office or supervising officer; or
                                    ( ) (ii) Home Detention. You are rcstrictcd to your residenee at all times exeept for employment; education:
                                                religious scrvices; or mental health treatment; anorney visits; eourt appearances; coun-ordered obligations;
                                                or other activities as prc-approved
                                                                           .    ..        by the Pretrial Services office or supervising officer; or
                                   ( ) (iii) Home Incarceration. You are restricted to your residence at all times except ibr medical necds or treatment.
                                              religious services, and court appearanees pre-approved by the Prctrial Serviccs offtee or supcrvision officer.




(Copies to: Defendant, US Attorney, US Marshal, Pretrial Services)
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                                                         Advice of Penalties and Sanctions
        'THE D~FENDANT:
        YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


I        A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest,
    a revocation of release. an order of detention, and a rosec cut ion for contemDt of court and could result in a term of im~risonment.
    a fine, or both.
         The commission of any crime while on pre-trial release may result in an additional sentence to a term of imprisonment of
    not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one year, if the offense is a
    misdemeanor. This sentence shall be in addition to anv, other sentence.
                                                                     ~~
                                                                              ~   ~




         Federal law makes it a crime punishable by up to five years of imprisonment, and a $250,000 fine or both to intimidate or
    attempt to intimidate a witness, victim, juror, informant or officer of the court, or to obstruct a criminal investigation. It is also
    a crime punishable by up to ten years of imprisonment, a $250,000 fine or both, to tamper with a witness, victim or informant,
    or to retaliate against a witness, victim or informant, or to threaten or attempt to do so.
         If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
    you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
         (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be
              fined not more than $250,000 or imprisoned for not more than ten years, or both;
         (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
              not more than $250,000 or imprisoned for not more than five years, or both;
         (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
         (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
         A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
    In addition, a failure to appear may result in the forfeiture of any bond posted.

                                                          Acknowledgement of Defendant


I
        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
    conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties
    and sanctions set forth above.
                                                                                                                                 ..,d




                                                                                                              Signature of Defendant




                                                                                             \                          -
                                                                                             ~    i      t State
                                                                                                             w




I                                                    Directions to United States Marshal

I   (
    (
        b      e defendant is ORDERED released after processing.
        ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial officer that
            the defendant has posted bond and/or complied with all other co                                                                e produced before
            the appropriatr) judicial officer at the time and place specified           ..                                                          I

            Date:                                                                                1-                         -
                                                                                                            Signature o f ~ u d i c i ~ ~ f f i c e r


                                                                                                        Name and Title of Judicial Officer




    WHITE COPY -COURT            Y E L L O W DEFENDANT           BLUE - U.S. ATTORNEY                 PINK - U.S. MARSHAL               GREEN - PRETRIAL SERVICES
